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                       1    ALTSHULER BERZON LLP                                 COHEN MILSTEIN SELLERS & TOLL
                            EVE CERVANTEZ, SBN 164709                            PLLC
                       2    JONATHAN WEISSGLASS, SBN 185008                      ANDREW N. FRIEDMAN (admitted pro hac
                            ecervantez@altshulerberzon.com                       vice)
                       3    jweissglass@altshulerberzon.com                      GEOFFREY GRABER, SBN 211547
                            177 Post Street, Suite 300                           SALLY M. HANDMAKER, SBN 281186
                       4    San Francisco, CA 94108                              afriedman@cohenmilstein.com
                            Telephone: (415) 421-7151                            ggraber@cohenmilstein.com
                       5    Facsimile: (415) 362-8064                            shandmaker@cohenmilstein.com
                                                                                 1100 New York Ave. NW
                       6    Lead Plaintiffs’ Counsel                             Suite 500, West Tower
                            Additional Plaintiffs’ Counsel Listed on             Washington, DC 20005
                       7    Signature Page                                       Telephone: (202) 408-4600
                                                                                 Facsimile: (202) 408-4699
                       8
                            HOGAN LOVELLS US LLP                                KIRKLAND & ELLIS LLP
                       9    CRAIG A. HOOVER, SBN 113965                         BRIAN P. KAVANAUGH (admitted pro hac
                            E. DESMOND HOGAN (admitted pro hac                  vice)
                   10       vice)                                               brian.kavanaugh@kirkland.com
                            PETER R. BISIO (admitted pro hac vice)              300 North LaSalle Street
                   11       Michelle A. Kisloff (admitted pro hac vice)         Chicago, IL 60654
                            craig.hoover@hoganlovells.com                       Telephone: (312) 862-2000
                   12       desmond.hogan@hoganlovells.com                      Facsimile: (312) 862-2200
                            peter.bisio@hoganlovells.com
                   13       michelle.kisloff@hoganlovells.com                    Attorneys for Defendants Blue Cross Blue
                            555 Thirteenth Street, NW                            Shield Association and Health Care Service
                   14       Washington, DC 20004                                 Corporation
                            Telephone: (202) 637-5600
                   15       Facsimile: (202) 637-5910

                   16       Attorneys for Defendants Anthem, Inc. and
                            related parties
                   17
                                                      UNITED STATES DISTRICT COURT
                   18
                                                   NORTHERN DISTRICT OF CALIFORNIA
                   19
                                                               SAN JOSE DIVISION
                   20
                            IN RE ANTHEM, INC. DATA BREACH                  Case No. 5:15-MD-02617-LHK
                   21       LITIGATION
                                                                            JOINT ADMINISTRATIVE MOTION TO
                   22                                                       FILE UNDER SEAL PORTIONS OF
                                                                            PLAINTIFFS’ MEMORANDUM IN SUPPORT
                   23                                                       OF MOTION FOR PRELIMINARY
                                                                            APPROVAL OF ACTION CLASS
                   24                                                       SETTLEMENT AND EXHIBITS TO
                                                                            SETTLEMENT AGREEMENT
                   25
                                                                            The Honorable Lucy H. Koh
                   26
                                                                            Date:           August 17, 2017
                   27                                                       Time:           1:30 p.m.
                                                                            Courtroom:      8, 8th Floor
                   28
H OGAN L OVEL LS US
       LLP
  ATTO RNEY S AT LAW                                                      JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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                       1          Pursuant to Local Rule 79-5, the Court’s February 4, 2016 Case Management Order (Dkt.
                       2   No. 463), and the Court’s October 25, 2015 Order on Procedures for Administrative Motions to
                       3   File Under Seal (Dkt. No. 325), Plaintiffs and Defendants respectfully request that portions of
                       4   Plaintiffs’ Motion for Preliminary Approval of Class Action Settlement and Exhibits to the
                       5   Settlement Agreement be filed under seal.
                       6          There are compelling reasons to seal discrete portions of these documents. See Ctr. for

                       7   Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1096-97 (9th Cir. 2016); Thomas v. Magnachip

                       8   Semiconductor Corp., No. 14-CV-01160-JST, 2016 WL 3879193, at *7 (N.D. Cal. July 18,

                       9   2016). As explained in the Declarations of Stephen Moore and Anthem lead counsel Craig A.

                   10      Hoover, Anthem seeks to redact portions of Plaintiffs’ Memorandum in Support of Motion for

                   11      Preliminary Approval and Exhibit 2 to the Settlement Agreement because they contain detailed

                   12      and confidential information about Anthem’s information security, including information

                   13      regarding the current tools and policies utilized by Anthem, which if publicly disclosed, could

                   14      substantially harm Anthem and its members by giving potential cyberattackers insights into

                   15      Anthem’s cybersecurity practices and protocols. The risks posed by publicly filing this

                   16      confidential information, including the security risks to Anthem and to class members, is

                   17      sufficient to overcome the general presumption of access to judicial records. See Ctr. For Auto
                           Safety, 809 F.3d at 1097 (stating that “[w]hat constitutes a ‘compelling reason’ is ‘best left to the
                   18
                           sound discretion of the trial court’”) (internal quotation marks and citations omitted); Bell v.
                   19
                           Home Depot U.S.A., Inc., No. 212CV02499GEBCKD, 2015 WL 6082460, at *2 (E.D. Cal. Oct.
                   20
                           15, 2015) (finding “compelling reasons” to seal documents that contained the defendant’s
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                           “security protocols in opening and closing its stores, the disclosure of which could threaten its
                   22
                           stores’ security and its employees’ safety”). In addition, portions of these documents contain
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                           highly-sensitive business information regarding Anthem’s yearly funding and business practice
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                           commitments that could damage Anthem’s business interests or competitive standing. See Nixon
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                           v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978) (explaining that sealing is justified where
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                           documents may be used “as sources of business information that might harm a litigant’s
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                           competitive standing.” ); Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., No. 12-CV-
                   28
H OGAN L OVEL LS US
       LLP                                                                  -1-
  ATTO RNEY S AT LAW
                                                                        JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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                       1   03844-JST, 2015 WL 984121, at *2 (N.D. Cal. Mar. 4, 2015) (finding compelling interests to seal
                       2   “highly sensitive business information” “that could damage [defendant’s] business interests”).
                       3          The parties also seek to seal the Statement Regarding Exclusion of Settlement Class
                       4   Members (attached as Exhibit B to the Declaration of Eve H. Cervantez in Support of Plaintiffs’
                       5   Motion for Preliminary Approval of Class Settlement), regarding the threshold number of opt-
                       6   outs required, “in order to prevent third parties from utilizing it for the improper purpose of

                       7   obstructing the settlement and obtaining higher payouts.” Thomas, 2016 WL 3879193, at *7

                       8   (identifying compelling reasons to seal a similar termination of settlement provision); In re

                       9   Online DVD-Rental Antitrust Litig., 779 F.3d 934, 948 (9th Cir. 2015).

                   10             The parties therefore agree to seal the following:

                   11

                   12                       Document Title                                  Portions to be Sealed
                             Plaintiffs’ Motion for Preliminary Approval
                   13        of Class Settlement                                    -   Portions of pages 1, 6, 7, and 21

                   14        Exhibit 2 to the Settlement Agreement                  -   Portions of document
                             Statement Regarding Exclusion of Settlement
                   15                                                               -   Document in its entirety
                             Class Members
                   16

                   17
                                 These portions are highlighted in the unredacted versions of each of these documents and
                   18
                           referenced in the proposed order pursuant to Local Rule 79-5(d)(1)( B).
                   19
                                                                                 Respectfully submitted,
                   20
                                                                                 ALTSHULER BERZON LLP
                   21

                   22             Dated: June 22, 2017:                          By:     /s/ Eve Cervantez

                   23                                                            Eve Cervantez, SBN 164709
                                                                                 ecervantez@altshulerberzon.com
                   24                                                            Jonathan Weissglass, SBN 185008
                                                                                 jweissglass@altshulerberzon.com
                   25                                                            Danielle E. Leonard, SBN 218201
                   26                                                            dleonard@altshulerberzon.com
                                                                                 Meredith A. Johnson, SBN 291018
                   27                                                            mjohnson@altshulerberzon.com
                                                                                 Tony LoPresti, SBN 289269
                   28                                                            tlopresti@altshulerberzon.com
H OGAN L OVEL LS US
       LLP                                                                  -2-
  ATTO RNEY S AT LAW
                                                                        JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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                       1                                           177 Post Street, Suite 300
                                                                   San Francisco, CA 94108
                       2
                                                                   Telephone: (415) 421-7151
                       3                                           Facsimile: (415) 362-8064

                       4                                           COHEN MILSTEIN SELLERS & TOLL
                                                                   PLLC
                       5                                           Andrew N. Friedman (admitted pro hac vice)
                                                                   afriedman@cohenmilstein.com
                       6
                                                                   Geoffrey Graber, SBN 211547
                       7                                           ggraber@cohenmilstein.com
                                                                   Sally M. Handmaker, SBN 281186
                       8                                           shandmaker@cohenmilstein.com
                                                                   Eric Kafka (admitted pro hac vice)
                       9                                           ekafka@cohenmilstein.com
                   10                                              1100 New York Ave. NW
                                                                   Suite 500, West Tower
                   11                                              Washington, DC 20005
                                                                   Telephone: (202) 408-4600
                   12                                              Facsimile: (202) 408-4699
                   13                                              Co-Lead Plaintiffs’ Counsel
                   14
                                                                   LIEFF CABRASER HEIMANN &
                   15                                              BERNSTEIN LLP
                                                                   Michael Sobol
                   16                                              Jason Lichtman
                   17                                              GIRARD GIBBS LLP
                   18                                              Eric Gibbs
                                                                   David Berger
                   19                                              Plaintiffs’ Steering Committee

                   20                                              HOGAN LOVELLS US LLP
                                                                   CRAIG A. HOOVER
                   21
                                                                   E. DESMOND HOGAN
                   22                                              PETER R. BISIO
                                                                   MICHELLE A. KISLOFF
                   23                                              ALLISON M. HOLT

                   24      Dated: June 22, 2017                    By:    /s/ Craig A. Hoover
                   25
                                                                   Craig A. Hoover (SBN 113965)
                   26                                              craig.hoover@hoganlovells.com
                                                                   E. Desmond Hogan (admitted pro hac vice)
                   27                                              desmond.hogan@hoganlovells.com
                                                                   Peter R. Bisio (admitted pro hac vice)
                   28                                              peter.bisio@hoganlovells.com
H OGAN L OVEL LS US
       LLP                                                      -3-
  ATTO RNEY S AT LAW
                                                            JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                                                                    Case No. 15-MD-02617-LHK
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                       1                                              Michelle A. Kisloff (admitted pro hac vice)
                                                                      michelle.kisloff@hoganlovells.com
                       2
                                                                      Allison M. Holt (admitted pro hac vice)
                       3                                              allison.holt@hoganlovells.com
                                                                      555 Thirteenth Street, NW
                       4                                              Washington, DC 20004-1109
                                                                      Telephone:     (202) 637-5600
                       5                                              Facsimile:     (202) 637-5910
                       6
                                                                      Michael Maddigan (SBN 163450)
                       7                                              michael.maddigan@hoganlovells.com
                                                                      1999 Avenue of the Stars, Suite 1400
                       8                                              Los Angeles, CA 90067
                                                                      Telephone:    (310) 785-4600
                       9                                              Facsimile:    (310) 785-4601
                   10
                                                                      Attorneys for Defendants Anthem, Inc., and
                   11                                                 certain of its affiliates that have been named
                                                                      as defendants in the Third Amended
                   12                                                 Complaint (collectively, “Anthem”) and
                                                                      Defendants Blue Cross and Blue Shield of
                   13                                                 Alabama, USAble Mutual Insurance
                   14                                                 Company d/b/a Arkansas Blue Cross Blue
                                                                      Shield and BlueAdvantage Administrators of
                   15                                                 Arkansas, California Physicians’ Service
                                                                      d/b/a Blue Shield of California, Blue Cross
                   16                                                 and Blue Shield of Florida, Inc. d/b/a Florida
                                                                      Blue, CareFirst of Maryland, Inc., Blue
                   17                                                 Cross and Blue Shield of Massachusetts, Inc.,
                   18                                                 Blue Cross and Blue Shield of Michigan,
                                                                      Blue Cross and Blue Shield of Minnesota,
                   19                                                 Horizon Healthcare Services, Inc., Blue
                                                                      Cross and Blue Shield of North Carolina,
                   20                                                 Highmark Health Services, and Blue Cross
                                                                      and Blue Shield of Vermont
                   21

                   22                                                 TROUTMAN SANDERS LLP
                                                                      CHAD R. FULLER
                   23
                                Dated: June 22, 2017                  By:    /s/ Chad R. Fuller
                   24
                                                                      Chad R. Fuller (SBN 190830)
                   25
                                                                      chad.fuller@troutmansanders.com
                   26                                                 11682 El Camino Real, Suite 400
                                                                      San Diego, CA 92130
                   27                                                 Telephone:    (858) 509-6056
                                                                      Facsimile:    (858) 509-6040
                   28
H OGAN L OVEL LS US
       LLP                                                         -4-
  ATTO RNEY S AT LAW
                                                               JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                                                                       Case No. 15-MD-02617-LHK
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                       1                                              Attorney for Anthem
                       2

                       3                                              NELSON MULLINS RILEY &
                                                                      SCARBOROUGH LLP
                       4                                              JOHN D. MARTIN
                                                                      LUCILE H. COHEN
                       5
                                Dated: June 22, 2017                  By:    /s/ John D. Martin
                       6

                       7                                              John D. Martin (admitted pro hac vice)
                                                                      john.martin@nelsonmullins.com
                       8                                              Lucile H. Cohen (admitted pro hac vice)
                                                                      lucie.cohen@nelsonmullins.com
                       9                                              1320 Main Street, 17th Floor
                   10                                                 Columbia, SC 29201
                                                                      Telephone:    (803) 255-9241
                   11                                                 Facsimile:    (858) 256-7500

                   12                                                 Attorneys for Anthem
                   13                                                 KIRKLAND & ELLIS LLP
                   14                                                 BRIAN P. KAVANAUGH
                                                                      KATHERINE WARNER
                   15                                                 LUKE C. RUSE
                                                                      TIM PICKERT
                   16
                                Dated: June 22, 2017                  By:    /s/ Brian P. Kavanaugh
                   17

                   18                                                 Brian Kavanaugh (admitted pro hac vice)
                                                                      brian.kavanaugh@kirkland.com
                   19                                                 Katherine Warner (admitted pro hac vice)
                                                                      kate.warner@kirkland.com
                   20                                                 Luke C. Ruse (admitted pro hac vice)
                                                                      luke.ruse@kirkland.com
                   21
                                                                      Tim Pickert (admitted pro hac vice)
                   22                                                 tim.pickert@kirkland.com
                                                                      300 N. LaSalle
                   23                                                 Chicago, IL 60654
                                                                      Telephone: (312) 862-2000
                   24                                                 Facsimile: (312) 862-2200
                   25
                                                                      Attorneys for The Blue Cross Blue Shield
                   26                                                 Association and Health Care Service
                                                                      Corporation, a Mutual Legal Reserve
                   27                                                 Company, d/b/a Blue Cross and Blue Shield
                                                                      of Illinois and Blue Cross and Blue Shield of
                   28                                                 Texas
H OGAN L OVEL LS US
       LLP                                                         -5-
  ATTO RNEY S AT LAW
                                                               JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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                       1                                    SIGNATURE ATTESTATION
                       2          Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this
                       3   document has been obtained from the signatories shown above.
                       4
                           Date: June 22, 2017                                           /s/ Eve Cervantez
                       5                                                                 Eve Cervantez
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H OGAN L OVEL LS US
       LLP                                                                  -6-
  ATTO RNEY S AT LAW
                                                                        JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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